  Case 1:09-cv-03609-RWS Document 371 Filed 04/15/14 Page 1 of 2




               IN THE UNITED STATES DISTRICT COURT 

              FOR THE NORTHERN DISTRICT OF GEORGIA 

                         ATLANTA DIVISION 


SCHUTZ CONTAINER SYSTEMS,                 )               Civil Action No.
INC.,                                     )             1:09-CV-3609-RWS
                                          )
                    Plaintiff,            )
      v.                                  )          CONSENT ORDER OF
                                          )             DISMISSAL
MAUSER CORP. and                          )
NATIONAL CONTAINER GROUP,                 )
LLC,                                      )
                                          )
      Defendants.                         )


      Upon review of the parties' Joint Motion For Dismissal of Action and

Supporting Memorandum, it is hereby ORDERED that in accordance with Rule

41(a)(2), F.R.Civ.P., this civil action, including all claims and counterclaims, is

dismissed in its entirety with prejudice subject to settlement agreements dated

Aprilll, 2014 among the parties and their respective affiliates, which agreements

are incorporated herein by reference. This Court retains jurisdiction to specifically

enforce said agreements and the parties' performance and obligations thereunder.
  Case 1:09-cv-03609-RWS Document 371 Filed 04/15/14 Page 2 of 2




       Each party to bear its own costs and attorneys' fees.



       SO ORDERED, this ~ day of~f1t      ~                ,2014. 





                                              Hon. Richard W. Story
                                              United States District COll
                                              Northern District of Georgia

CONSENTED TO:



 William . . S it                          Wesley C. Achey
 Ga. Bar No. 6646                          Ga. Bar No. 141284
 J. Jason Williams                         ALSTON & BIRD LLP
Ga. Bar No. 142689                         1201 West Peachtree Street
 JONES DAY                                 Atlanta, Georgia 30309
 1420 Peachtree Street, NE, Suite 800      Telephone: 404-881-7000
Atlanta, Georgia 30309-3053                Facsimile: 404-881-7777
Tel: 404-521-3939
Fax: 404-581-8330                         Russell E. Levine, P.C. (pro hac vice)
wsmith@jonesday.com                       Robin A. McCue (pro hac vice)
jjwilliams@jonesday.com                   KIRKLAND & ELLIS LLP
                                          300 North LaSalle
ATTORNEYS FORPLAINTWF                     Chicago, Illinois 60654
                                          Telephone: 312-862-2000
                                          Facsimile: 312-862-2200
                                          russell.levine@kirkland.com
                                          robin.mccue@kirkland.com

                                          ATTORNEYS FOR DEFENDANTS
